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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


  In re:
                                                                    PROMESA
  THE FINANCIAL OVERSIGHT AND                                       Title III
  MANAGEMENT BOARD FOR PUERTO RICO,
                                                                    No. 17 BK 3283-LTS
                      as representative of                          (Jointly Administered)

  THE COMMONWEALTH OF PUERTO RICO, THE
  EMPLOYEES RETIREMENT SYSTEM OF THE
  GOVERNMENT OF THE COMMONWEALTH OF
  PUERTO RICO, AND THE PUERTO RICO PUBLIC
  BUILDINGS AUTHORITY,

                                              Debtors.1



      URGENT MOTION OF AMBAC ASSURANCE CORPORATION FOR LEAVE TO
        FILE SUPPLEMENTAL OBJECTION TO THE DISCLOSURE STATEMENT
         FOR THE THIRD AMENDED TITLE III JOINT PLAN OF ADJUSTMENT
                OF THE COMMONWEALTH OF PUERTO RICO, ET AL.




  1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the
  last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the
  (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last
  Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
  (Bankruptcy Case No. 17-BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico
  Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four
  Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last Four Digits of
  Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-
  BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority
  (“PBA”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III
  case numbers are listed as Bankruptcy Case numbers due to software limitations).
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  To the Honorable United States District Judge Laura Taylor Swain:

         Ambac Assurance Corporation (“Ambac”) respectfully submits this urgent motion (the

  “Urgent Motion”) requesting entry of an order, substantially in the form attached hereto as Exhibit

  A, granting Ambac leave to file a supplemental objection (the “Supplemental Objection”) to the

  Disclosure Statement for the Third Amended Title III Joint Plan of Adjustment of the

  Commonwealth of Puerto Rico, et al. (ECF No. 16741) (“Disclosure Statement” or “DS”).2 In

  support of its Urgent Motion, Ambac respectfully states as follows:

                                   JURISDICTION AND VENUE

         1.      The United States District Court for the District of Puerto Rico has subject-matter

  jurisdiction over this matter pursuant to Section 306(a) of PROMESA. Venue is proper pursuant

  to Section 307(a) of PROMESA.

                                           BACKGROUND

         2.      On May 11, 2021, the Board filed the Disclosure Statement and the Plan.

         3.      On June 3, 2021, Ambac filed the Objection of Ambac Assurance Corporation,

  Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claim Asserted by the

  Official Committee of Retired Employees of the Commonwealth of Puerto Rico Appointed in the

  Commonwealth’s Title III Case (ECF No. 16884) (the “Pension Claim Objection”). The Pension

  Claim Objection (1) challenges the amount of the claim filed by the Official Committee of Retired

  Employees of the Commonwealth of Puerto Rico (the “Retiree Committee”) against the

  Commonwealth (the “Retiree Committee Claim”), which asserts pension liabilities of at least

  $58.5 billion; and (2) seeks disallowance of the Retiree Committee Claim to the extent the

  Commonwealth’s overall pension liability is overstated. On June 14, 2021, the Court ordered that


  2
   Unless otherwise specified, ECF numbers refer to filings in No. 17-bk-03283-LTS. Capitalized terms not
  otherwise defined herein shall have the meanings given in the Disclosure Statement.
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  responses to Ambac’s proposed briefing schedule for the Pension Claim Objection be filed by June

  17, 2021 (ECF No. 16965) (the “Scheduling Order”).

         4.      On June 15, 2021, per the operative schedule governing Disclosure Statement

  proceedings, Ambac filed an objection to the Disclosure Statement (ECF No. 17008) (the “DS

  Objection”), arguing that the Disclosure Statement should not be approved because, inter alia, it

  presented a patently unconfirmable plan and contained a number of deficiencies in necessary

  disclosures.   Among the deficiencies Ambac identified is the failure to disclose the likely

  overstatement of the pension liability figure used in the Disclosure Statement and Fiscal Plan, as

  well as the lack of disclosures regarding the unreliability of the data on which the pension liability

  estimate relies.

         5.      On June 17, 2021, the Board filed a response to the Scheduling Order indicating its

  intent to move to terminate the Pension Claim Objection. (See ECF No. 17069 (the “Board

  Response”)).

                                BASIS FOR RELIEF REQUESTED

         6.      The Board Response makes three novel assertions regarding the Board’s

  “contemplated treatment of pension claims” that are discernible nowhere in either the Disclosure

  Statement or Plan. Specifically, the Board Response (¶ 3) states that:

         •    the Board’s “contemplated treatment of pension claims already takes into account the
              $8.2 billion reduction in claims” that Ambac argued should be reflected in the
              Commonwealth’s pension liability estimate (see Pension Claim Objection ¶¶ 37, 41;
              DS Objection ¶¶ 114-115);

         •    the Board’s “contemplated treatment of pension claims . . . is independent of the
              discount rate used to compute a present value of future pension payments,” which
              discount rate Ambac has taken issue with (see Pension Claim Objection ¶¶ 51-57; DS
              Objection ¶ 118 n.83); and

         •    “the treatment of pension claims under the [Plan] is not based on the Retiree Committee
              Claim.”



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          7.       This information regarding the amount, method of calculation, and basis for the

  pension claims and the treatment thereof in the Plan is presented for the first time to creditors only

  after the deadline by which creditors were required to submit objections to the Disclosure

  Statement, and in procedural briefing on a separate matter rather than in a fulsome creditor

  disclosure.

          8.       The cavalier manner in which the Board makes these statements might suggest that

  this information is easily obtainable, or that it may readily be determined from materials already

  provided to creditors. But this is not the case. In fact, the Disclosure Statement leads creditors to

  understand something quite different than what the Board Response alleges. Far from “already

  tak[ing] into account the $8.2 billion reduction in [pension liability] claims” (Board Response ¶ 3)

  that Ambac has identified in the Pension Claim Objection and the DS Objection, the Disclosure

  Statement states that the Commonwealth’s pension liabilities are “over $50 billion.” (DS at 8,

  10.)3 This makes it unlikely that Board has “already” reduced its pension liability estimate—

  quoted at approximately $55 billion in various places throughout the Disclosure Statement4—by

  over $8 billion. (Board Response ¶ 3.) At the very least, this highlights just how little clarity the

  Board has provided creditors regarding the actual size of the Commonwealth’s estimated pension

  liability.5




  3
    (See also id. Ex. G (Certified Fiscal Plan) at 22 (disclosing “over $50 billion in pension liabilities”), 273
  (providing a summary of actuarial accrued liability for ERS ($36.43 billion), TRS ($18.17 billion), and JRS
  ($0.65 billion)).)
  4
    (See DS at 3, 152 (the Commonwealth had “approximately $55.6 billion” in “net” or “estimated” pension
  liability as of mid-2016).)
  5
   Ambac’s understanding is that the difference between the pension liability amount cited in the Board’s
  disclosures ($55.6 billion) and the Retiree Committee Claim ($58.5 billion) appears to be a result of the
  Retiree Committee’s use of a different discount rate. (See Pension Claim Objection at 18.)


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         9.      Ambac respectfully requests leave to file a Supplemental Objection to address

  deficiencies in the Disclosure Statement that are only now apparent from the revelations in the

  Board Response. The Supplemental Objection will argue that the Disclosure Statement should not

  be approved without amendments that (a) state clearly the amount of the pension liability claim

  being allowed under the Plan; (b) clarify whether the Retiree Committee Claim is being allowed

  or disallowed, and if allowed, in what amount; and (c) identify the bases on which, and

  methodology by which, the allowed pension liability amount was determined and calculated,

  including what discount rate was used (and how that determination was made), and from which

  data, reports, and analyses the allowed amount was derived.

               COMPLIANCE WITH AMENDED CASE MANAGEMENT ORDER

         10.     In accordance with Paragraph I.H of the Fourteenth Amended Notice, Case

  Management and Administrative Procedures [ECF No. 15894-1] (the “Amended Case

  Management Order”), on June 21, 2021, Ambac informed counsel for the Board of its intent to

  seek leave to file a Supplemental Objection, which Supplemental Objection shall be no more than

  five (5) pages in length and submitted by 5:00 p.m. AST on June 25, 2021.

         11.     As of the time of this filing, the Board has not yet advised whether it consents to

  the relief requested herein.

         12.     Pursuant to Paragraph 1.H of the Amended Case Management Order, the

  undersigned counsel hereby certify that they have (a) carefully examined the matter and concluded

  that there is a true need for an urgent decision; (b) not created the urgency through any lack of due

  diligence; and (c) made reasonable, good-faith communications in an effort to resolve or narrow

  the issues before the Court.




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                                          CONCLUSION

         WHEREFORE, Ambac respectfully requests that the Court enter an order, substantially in

  the form attached hereto as Exhibit A, granting the relief requested herein and granting Ambac

  such other relief as the Court deems just and proper.



   Dated: June 21, 2021                                FERRAIUOLI LLC
          San Juan, Puerto Rico
                                                       By: /s/ Roberto Cámara-Fuertes
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                                                       Attorneys for Ambac Assurance Corporation




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                                  CERTIFICATE OF SERVICE

                I hereby certify that, on this same date, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

  CM/ECF participants in this case.

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